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                                 UNITED STATES DISTRICT COURT
                                      DISTRICT OF OREGON

GEORGE E. BACKES, and                            )      No. ______________________
RICK BARCLAY                                     )
                                                 )      COMPLAINT
                                                 )
                           Plaintiffs,           )
                                                 )
v.                                               )
                                                 )
DAVID BERNHARDT,                                 )
Acting Secretary of Interior;                    )
JOHN DOE, Deputy Secretary                       )
Of Interior; and the UNITED STATES               )
BUREAU OF LAND MANAGEMENT,                       )
An agency of the United States,                  )
                                                 )
                           Defendants.           )
                                                 )


                                           INTRODUCTION

1.         Plaintiffs challenge the determination of the United States Department of the Interior,

Interior Board of Land Appeal (IBLA), affirming two Bureau of Land Management ( BLM)

decisions finding Plaintiffs failed to comply with the BLM’s surface management and occupancy

regulations found in 43 C.F.R. §§ 3809 and 3715. Plaintiffs assert that §§ 3809 and 3715 do not

apply to their unpatented mining claims located before enactment of the Surface Resources Act



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of 1955 in a manner such that would deprive them of their rights. The findings and conclusions

of IBLA are not in accordance with law, confer excess statutory authority, are unsupported by

the evidence contained in the agency record, and are unwarranted by the facts. The IBLA erred

in failing to decide the surface rights of the Plaintiffs. In addition, the BLM failed to establish

that the Notices of Non Compliance were duly issued by an individual with authority to sign the

same.

2.         Plaintiffs seek judicial review, reversal of the decision, of the IBLA decision and a

declaration that the Notices of Non Compliance are void.

                                    JURISDICTION AND VENUE

3.         Jurisdiction is proper in this court under 28 U.S.C. §1331 because this action arises under

the laws of the United States and their implementing regulations including The Mining Law of

1872 , 30 U.S.C. §§ 22-42; the Surface Resources Act of 1955, 30 U.S.C. §§ 601 et seq., (SRA);

FLPMA, 43 U.S.C. §§ 1701 et seq.; the APA, 5 U.S.C. §§ 701 et seq.; the Declaratory

Judgement Act, 28 U.S.C. §§ 2201 et seq.; and the Equal Access to Justice Act, 28 U.S.C. . §§

2412 et seq.

4.         An actual justiciable controversy now exists between Plaintiffs and Defendants. The

challenged decision is final and subject to judicial review pursuant to 5 U.S.C. §§702, 704, &

706. The relief requested is proper under 28 U.S.C. §§ 2201& 2202 and 5 U.S.C. §§701-706.

5.         Venue is proper in this Court pursuant to 28 U.S.C. §1391(e) because Plaintiffs reside in

this district; Defendant BLM has offices and staff in Oregon; and the mining claims relevant to

claims asserted herein are located in this district.

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6.         The federal government has waived sovereign immunity under 5 U.S.C. §701.

                                                   PARTIES

7.         Plaintiff George E. Backes is an individual residing in Josephine County, Oregon and

joint owner of the mining claims discussed below.

8.         Plaintiff Rick Barclay is an individual residing in Jackson County, Oregon and joint

owner of the mining claims discussed below.

9.         Defendants in this action are as follows:

           A.         David Bernhardt is the Acting Secretary of the Interior, and has responsibility for

approving the decision of the IBLA. He is sued solely in his official capacity.

           B.         As of filing this Complaint, Plaintiffs are unable to identify the Deputy Secretary

of the Interior since David Bernhardt was promoted to Acting Secretary of the Interior. The

Department of the Interior’s website is currently not up to date. As such, Plaintiffs name John

Doe, Deputy Secretary of the Interior, who has responsibility for or approving the decision of the

IBLA. The Deputy Secretary of the Interior is sued solely in his official capacity.

           C.         Bureau of Land Management is an agency of the United States, within the

Department of the Interior. BLM is charged with statutory duties to manage public lands under

its jurisdiction pursuant to FLPMA and other authorities. The BLM is the agency responsible for

issuing the underlying decisions challenged herein.

                                   STATEMENT OF RELEVANT FACTS

10.        Plaintiffs are the joint owners of six unpatented mining claims.

11.        The claims are in Josephine County, Oregon, along Quartz Creek, a tributary of the North

Fork of Galice Creek, which flows into the Rogue River, outside the community of Galice. The

claims are identified as follows:



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              Claim                                                ORMC         Date of Location
              Sugar Pine                                           20078        February 15, 18761
              Sugar Pine South Extension                           20079        March 27, 1975
              Black Jack                                           20080        July 17, 1900
              Black Jack #3                                        20081        August 21, 1900
              Oregonian                                            20082        January 1, 1908
              Golden Cycle                                         20083        November 23, 1920


12.           All of the claims are in Sections 3 and 4 of Township 35 South, Range 8 West,

Willamette Meridian, and a small portion of Section 33 of Township 34 South, Range 8 West.

13.           It is undisputed that each of the claims has been continuously located.

14.           All of the claims predate the Surface Resources Act of 1955, 30 U.S.C. §§ 601 et seq.

(also referred to as the Multiple Use Act) (SRA), with the exception of the Sugar Pine South

Extension. The surface rights related to the pre 1955 claims have never been severed from the

underlying claims.

15.           All improvements and equipment on the claims are reasonable and necessary for mining

purposes in order to make the mining claims productive. Plaintiffs have begun restoring access

roads, tunnels, and other workings, and have assembled equipment necessary for mining. In

light of the claims’ remote location, they built a small cabin for use during active mining.

16.           The BLM was aware of the activities and occupancy of the claims. Its agents had directly

observed the activities at various times. See IBLA Opinion 193 IBLA 215 B. A copy of the

opinion is attached as Exhibit 1.

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1
  Plaintiffs believe that the Sugar Pine Lode may in fact pre date February 15, 1876 based on a conveyance from 
Thomas Mitchell to George Green for the claim and some improvements dated prior to February 15, 1876, as may 
be established at trial.  

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17.        On or about March 18, 2015 Plaintiffs received two Noncompliance Notices issued by

the BLM finding that Plaintiffs were illegally operating and occupying their claims because of

their failure to comply with the BLM’s surface management and occupancy regulations found in

43 C.F.R. 3809 & 3715. Copies of the BLM decisions are attached hereto as Exhibit 2 (Notices).

18.        The Notices are signed by an individual whose signature appears to be that of Jim Bell.

See Exhibit 2.

19.        Prior to receipt of the Notices, Plaintiffs had been in contact with representatives of the

BLM for mining-related purposes. See Exhibit 3 Affidavit of Rick Barclay dated April 23, 2015,

attached to Appellants Statement of Reason (Barclay Affidavit). The BLM acknowledges that

during the course of these communications it was understood that Plaintiffs asserted, consistent

with their dates of location, that their rights in the claims included the surface estate. Id. The

BLM had never challenged Plaintiffs’ understanding.

20.        The Notice of Noncompliance pursuant to 43 CFR §3715 states that the BLM observed

two camp trailers, a watchman, a no trespassing sign claiming exclusive surface rights, a cabin,

milling facility, several small crushers, a small ball mill, a small saw mill, and other equipment.

The Notice states that surface rights do not exist.

21.        The Notice of Noncompliance pursuant to 43 CFR §3809 states that the BLM observed a

small bull dozer and mini–excavator which was used to install a water pipe system, improve

roads, clear adit entrances, and level areas. Once again the BLM Notice states that pre-1955

surface rights do not exist.

22.        On or about April 23, 2015 the Plaintiffs filed a motion to stay the Notices pending

appeal and filed a Notice of Appeal to the Interior Board of Land Appeals for each of the

decisions. The BLM subsequently filed a Non-Opposition to Stay dated May 1, 2015.



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23.        Subsequently Plaintiffs filed their Appellants Statement of Reason arguing that their

mining claims have valid surface rights which allow the Plaintiffs the exclusive right to occupy

the mining claims for reasons incidental to mining. A copy of the Appellants Statement of

Reason is attached hereto as Exhibit 4.

24.        The documents submitted by Plaintiffs to the IBLA establish the chain of title relevant to

the ownership claim. See Exhibit 4 and Exhibits thereto.

25.        On or about September 8, 2015 the BLM filed an Answer drawing into question

Plaintiff’s surface rights.

26.        On or about October 8, 2015 Plaintiffs filed a reply to the Answer of the BLM and

requested and evidentiary hearing. Plaintiffs argued that their appeal turned on whether their

mining claims have the benefit of surface rights because of their location prior to 1955. Plaintiffs

Reply is attached hereto as Exhibit 5.

27.        During the course of events Plaintiff’s submitted one or more Freedom of Information

Act (FOIA) requests in an attempt to determine who had signed the BLM Notices on behalf of

the agency. The signatures appear to be a person named Jim Bell “acting for” Field Manager

Allen Bollschweiger. The response to the FOIA is attached hereto as Exhibit 6. The agency has

yet to verify who it was that signed the Decisions or establish that the individual had authority to

do so. The documents provided in response to the FOIA request establish that there was not an

individual with delegated authority during the time period when the Notices were issued. ON

information and belief, no person named “Jim Bell” or anything similar to that was employed by

the agency and who placed his signature on the Notices.

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28.        On October 29, 2018 IBLA issued its opinion, 193 IBLA 208, affirming the BLM’s

determination that Plaintiffs failed to comply with the BLM’s surface and occupancy regulations

found at 43 C.F.R.§ § 3809 and 3715 and were therefore illegally operating and occupying their

claims. See Exhibit 1.

29.         The IBLA held that mining claimants and operators of unpatented mining claims must

comply with the regulations found in 43 C.F.R.§ § 3809 and 3715 “regardless of when those

claims were located or the applicability of the Surface Resources Act to the claims”. The IBLA

reasoned that only through compliance with these regulations can the BLM determine if

activities are incident to mining.

30.        Plaintiffs in their Statement of Reason argued to the IBLA that the administrative record

did not support the notices/decisions because the BLM failed to comply with section 4 of the

SRA (Multiple Use Act) as necessary to sever surface rights.

           I.         The IBLA erred in failing to address the relationship of surface rights to the
                      FLPMA, CFR Sections 3809 & 3715 in the context of the SRA

31.        The FLPMA expressly states that the Act may not impair the rights of claims.

           Except as provided in section 1744, section 1782, and subsection (f) of section
           1781 of this title and in the last sentence of this paragraph, no provision of this
           section or any other section of this Act shall in any way amend the Mining Law of
           1872 or impair the rights of any locators or claims under that Act, including, but
           not limited to, rights of ingress and egress. In managing the public lands the
           Secretary shall, by regulation or otherwise, take any action necessary to prevent
           unnecessary or undue degradation of the lands.

Section 302(b) FLPMA, 43 USC §1732(b). Any regulatory action must therefore be done in a

manner that does not cause interference with those rights. The surface rights held by Plaintiffs

are relevant to the determination.

32.          It is well-settled law “that when a mining claim has been perfected . . ., it is in effect a

grant from the United States of the exclusive right of possession to the same.” United States v.


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Etcheverry, 230 F.2d 193, 195 (10th Cir. 1956). The grant “constitutes property to its fullest

extent, and is real property subject to be sold, transferred, mortgaged, taxed, and inherited

without infringing any right or title of the United States.” Id. Under the General Mining Act of

1872, “[a] mining claim perfected under the law is property in the highest sense of that term,

which may be bought, sold, and conveyed, and will pass by descent.” Belk v. Meagher, 104 U.S.

279, 283, 26 L. Ed. 735 (1881). The nature of the grant “is in the nature of an estate in fee.”

Stenfjeld v. Espe, 171 F. 825, 828 (9th Cir. 1909).

33.        Based on surface rights, owners have the right to possess the property and a right to

exclude others from the property. Loretto v. Teleprompter Manhattan CATV Corp., 458 U.S.

419, 435, 102 S. Ct. 3164, 3176, 73 L. Ed. 2d 868 (1982). The surface rights granted under a

perfected mining claim include the right to exclusive possession. 30 USC 26; Belk v. Meagher,

104 U.S. 279, 283, 26 L. Ed. 735 (1881). Moreover, the surface rights include a right to cut and

sell timber in the most profitable way, as long as the cutting of the timber is in furtherance of the

mining operation. United States v. Nelson, 27 F. Cas. 86, 88 (D. Or. 1878); See United States v.

Rizzinelli, 182 F. 675, 684 (D. Idaho 1910). The exclusive right of possession encompasses the

right to “possession of every appurtenant belonging to the realty, including timber, soil, country

rock, percolating waters, [and] natural springs.” McKenzie v. Moore, 176 P. 568, 568 (Ariz.

1918). Thus, the surface rights that accompany a perfected mining claim are not limited to

mining, but also include those rights in fee in furtherance of mining. Talbott v. King, 6 Mont. 76,

9 P. 434, 437–38 (1886), aff'd sub nom. Talbott v. Bd. of Comm'rs of Silver Bow Cty., 139 U.S.

438, 11 S. Ct. 594, 35 L. Ed. 210 (1891).

34.        The purpose and scope of 34 USC § 3715 (FPMLA) is as follows:

           The purpose of this subpart is to manage the use and occupancy of the public
           lands for the development of locatable mineral deposits by limiting such use or


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           occupancy to that which is reasonably incident. The Bureau of Land Management
           (BLM) will prevent abuse of the public lands while recognizing valid rights and
           uses under the Mining Law of 1872 (30 U.S.C.22 et seq.) and related laws
           governing the public lands, regardless of when those rights were created.
           (emphasis added).

35.        The IBLA Acknowledges that the SRA is prospective, applying to future claims and that

Congress specifically provided claims located prior to enactment of the SRA retained their pre-

existing surface rights, and those rights were not subject to the SRA section 4 limitations on

claims unless they were made subject to the SRA through the procedural processes in sections 5

and 6 of the act. 193 IBLA at 211.

36.        Nonetheless, the IBLA concluded that the dispute over surface rights was not relevant

and did not decide if the surface rights were retained. 193 IBLA at 217.

37.        The occupancy of a pre-1955 mining claim for legitimate mining purposes cannot, as a

matter of law, constitute “unnecessary and undue degradation of the lands”. “Unnecessary or

undue degradation” means those activities that are “not reasonably incident to mining and are not

authorized under other applicable law or regulation.” See 43 USC §1732(b); Combined Metals

Reduction Co., 170 IBLA 56 (2006). Since the IBLA chose to ignore the surface rights analysis,

the opinion and record are void of discussion or analysis of how Plaintiffs’ activities result in

unnecessary or undue degradation.

38.        All of the activities and items observed as described in the Notices come squarely within

activities that are incident to mining and therefor do not constitute undue degradation of the

lands.

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                                      II. Signature on Notices

39.        Section 3809 does not clearly define who may issue notices of noncompliance.

Generally, 43 CFR §3809.601 states that “BLM may issue . . . a noncompliance order” if

operations do not comply with the “notice, plan of operations, or requirement of this subpart.”

40.        The BLM delegates authority among its agents via the internal BLM Manual. BLM

Manual Rel. 1-1706, Appendix 1 indicates that authority under 43 CFR §3809 lies with the State

Directors and the District Managers. Field Managers’ authority should be identified in the

State’s supplement to the Manual. Any third party under the Field Manager must be delegated

authority to act on behalf of a Field Manager when issuing orders of noncompliance.

41.        The Manual distinguishes between authority and responsibility: “Authority to make a

decision or take an action is different from having responsibility. For example, the ability to sign

a grazing permit . . . is an authority that can be delegated. The daily administration of procedures

related to the grazing program is an assigned responsibility.” BLM Manual Rel. 1-1706 Glossary

D. Issuing an order of noncompliance is clearly a decision-making action; it therefore falls under

“authority,” not “responsibility.”

42.        BLM Manual Rel. 1-1706.04(F)(3) directs that “[a]ll BLM Management Officials are

responsible for: Re-delegating authorities to the appropriate level of the organization with full

documentation in the appropriate BLM Manual Sections and Manual Supplements and, if

necessary, providing a notice in the Federal Register.” (emphasis added).

43.        BLM Manual Rel. 1-1706.1.11(B) states that “[a]ny official to whom authority is

delegated in BLM Manual Section 1203, or to whom authority has been delegated by other

appropriate means, may, in writing, re-delegate or authorize re-delegation of such authority,

unless re-delegation of authority is specifically prohibited or is limited.” (emphasis added).



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44.        Similarly, BLM Manual Rel. 1-1706.2.21 provides:

                      Delegations of authority must, in all instances, be made by written notice
                      to the position receiving the authority. This is a minimum requirement for
                      all delegations of authority. This written notice must be made on Form
                      1203-2, Delegation of Authority, signed by the official delegating the
                      authority and sent to the positions receiving the authority, or a similar
                      form used as part of a State Manual Supplement to the BLM Manual
                      Section 1203, such as an Information Bulletin or Instruction
                      Memorandum. (emphasis added).


45.        BLM Manual Rel. 1-1706.2.22 further provides that “[w]ritten documentation of a

delegation of authority must be in the form of an amendment to the Index to this Manual Section

(see Appendix 1), or to the Index of a State Manual Supplement to the BLM Manual Section

1203.”

46.        No written documentation exists indicating the delegation of authority upon the signatory

of the noncompliance orders by the Field Manager. The orders require signature by the Field

Manager in the absence of a writing indicating the delegation of authority. On information and

belief, no authority was delegated to the person whose signature appears on the Notices and the

signatures were placed on the Notices to falsely represent the existence of authority.

                                    FIRST CLAIM FOR RELIEF
               (Declaratory Relief – Reversal of IBLA Decision and Voiding of Notices)

47.        Plaintiffs re-allege paragraphs 1- 46 and add as follows.

48.        The regulatory overlay of the FLPMA cannot deprive the Plaintiffs of their surface rights

or interfere with those surface rights.

49.        The IBLA erred in disregarding the surface rights of the Plaintiffs in reaching its

determination, and in failing to acknowledge that the FLPMA does not extinguish any

possessory rights that an individual may have under the mining laws. As such, the IBLA findings




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are not in accordance with law, confer excess statutory authority to the BLM, are unsupported by

the evidence contained in the agency record, and are unwarranted by the facts.

50.        Accordingly the IBLA decision should be reversed and the Notices as issued should be

set aside.

                                 SECOND CLAIM FOR RELIEF
         (Declaratory Relief - BLM Notices of Noncompliance are invalid based on lack of
                authorized signature of individual with clear delegated authority.)

51.        Plaintiffs re-allege paragraphs 1- 50 and add as follows.

52.        The BLM has failed to establish the Notices of Non-compliance were issued by an

individual who had the appropriate authority.

53         The Notices of Non-Compliance should be declared void and set aside for lack of

issuance with a signature of an individual with delegated authority.

           WHEREFORE, Plaintiffs respectfully request the Court grant the following relief:

A.         Reversing the IBLA decision and declaring that the findings and conclusions of IBLA are

not in accordance with law as set forth in the SRA, confer excess statutory authority to the BLM,

are unsupported by the evidence contained in the agency record, and are unwarranted by the

facts.

B.         Declaring that the Notices of Noncompliance are void for lack of issuance from an

individual with delegated authority.

                                    THIRD CLAIM FOR RELIEF
                                         (Attorney Fees)

54.        Plaintiffs are entitled to attorney fees and costs pursuant to 28 USC §2412.

           WHEREFORE, Plaintiffs respectfully request the Court grant the following relief:

A.         Reversing the IBLA decision and declaring that the findings and conclusions of IBLA are

not in accordance with law as set forth in the SRA, confer excess statutory authority to the BLM,


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are unsupported by the evidence contained in the agency record, and are unwarranted by the

facts.

B.         Declaring that the Notices of Noncompliance are void for lack of issuance from an

individual with delegated authority.

C.         Attorney Fees and costs to be determined by the court.



Dated: April 2, 2019.



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